                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA


STEVEN C. LEVI,

                               Plaintiff,

                     v.                      Case No. 3:18-cv-00282-RRB

STATE OF ALASKA,

                                Defendant.



                                  ORDER OF DISMISSAL

         On December 6, 2018, self-represented litigant Steven C. Levi filed a

“Complaint Under the Civil Rights Act 42 U.S.C. § 1983” along with the $400.00

filing fee. 1 Mr. Levi included a copy of Alaska Supreme Court Opinion S-16876 as

an exhibit with his complaint. 2

         In his complaint, Mr. Levi alleges that the State of Alaska, Department of

Labor has “violated my rights, and I seek injunctive relief.” 3 Mr. Levi begins his

complaint by explaining the procedural history of his dispute with the Department

of Labor and the subsequent appeals decisions from the Superior Court of Alaska

and the Alaska Supreme Court. 4 Then, Mr. Levi breaks down the Alaska Supreme


1   Docket 1.
2   Docket 1-1.
3   Docket 1 at 1.
4   Docket 1 at 1-2.



           Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 1 of 12
Court’s decision into specific sections with which he disagrees. 5              Mr. Levi

disagrees with the Alaska Supreme Court’s interpretation of the Unemployment

Manual and a state statute and three alleged “facts” he believes the Alaska

Supreme Court ignored. 6 Mr. Levi alleges that he filed a motion for a jury trial, and

did not receive a grant or a denial, but instead that he “was simply found guilty by

the Superior Court.” 7 Mr. Levi alleges that his unemployment dispute is not an

administrative appeal, and therefore, his right to a jury trial has been violated.

         For relief, Mr. Levi requests that “this Court dismiss all charges against the

Plaintiff with Prejudice.” 8

                               SCREENING STANDARD

         The United States Supreme Court has established that “the federal courts

are under an independent obligation to examine their own jurisdiction[.]” 9 In a

federal court proceeding, a jurisdictional defect may be raised at any time. 10




5   Docket 1 at 3-7.
6   Docket 1 at 3-4.
7   Docket 1 at 5.
8   Docket 1 at 6.
9   United States v. Hays, 515 U.S. 737, 742 (1995).
10   Washington Environmental Council v. Bellon, 732 F.3d 1131, 1139 (9th Cir. 2013).

3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 2 of 12

           Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 2 of 12
                                       DISCUSSION

         Mr. Levi alleges that the State of Alaska violated his civil rights under 42

U.S.C. § 1983, because Alaska’s Department of Labor has ordered he refund the

Department due to a prior overpayment of unemployment benefits. Mr. Levi has

appealed this decision through the Alaska court system and now brings his claim

to federal court. Mr. Levi does not present a cognizable claim under 42 U.S.C. §

1983 and this Court has no jurisdiction to hear his case. Under these facts, no

other defendant may be substituted and therefore amendment is futile. Therefore,

Mr. Levi’s action must be dismissed.

                                     42 U.S.C. § 1983

         42 U.S.C. § 1983 is a federal statute that “is not itself a source of substantive

rights,” but provides “a method for vindicating rights [found] elsewhere.” 11 To state

a claim for relief under 42 U.S.C. § 1983, a plaintiff must “plead that (1) defendants

acting under color of state law (2) deprived plaintiff of rights secured by the federal

Constitution or federal statutes.” 12 To act under color of state law, a complaint

must allege that the defendants acted with state authority as state actors. 13 To be




11Graham v. Connor, 490 U.S. 386, 393-94 (1989) (quoting Baker v. McCollan, 443 U.S.
137, 144 n.3 (1979)).
12   Gibson v. United States, 781 F.2d 1334, 1338 (9th Cir. 1986).
13West v. Atkins, 487 U.S. 42, 49 (1988) (quoting United States v. Classic, 313 U.S. 299,
326 (1941)).

3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 3 of 12

           Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 3 of 12
deprived of a right, the defendant’s action needs to either violate rights guaranteed

by the Constitution or an enforceable right created by federal law. 14 Critically, a

plaintiff must establish a causal link between the state action and the alleged

violation of his rights. 15 These essential elements must be pleaded in a § 1983

claim.

         42 U.S.C. § 1983 also requires that a defendant must be “acting under the

color of state law”. 16 This essential element of the statute limits who may be a

proper defendant under § 1983 litigation. For instance, private citizens, state

governmental agencies, and states are not proper defendants for a § 1983

action. 17    The question of whether a person who has allegedly caused a

constitutional injury was acting under the color of state law is a factual

determination. 18 A defendant has acted under color of state law where he or she

has “exercised power ‘possessed by the virtue of state law and made possible only

because the wrongdoer is clothed with the authority of state law.’” 19


14Buckley v. City of Redding, 66 F. 3d 188, 190 (9th Cir. 1995); Blessing v. Freestone,
520 U.S. 329, 340-41 (1997).
15Preschooler II v. Clark Cty. Sch. Bd. Of Trs., 479 F.3d 1175, 1183 (9th Cir. 2007) (quoting
Johnson v. Duffy, 588 F.2d 740, 743 (9th Cir. 1978)).
16   West, 487 U.S. at 49.
17See 42 U.S.C. § 1983; Flint v. Dennison,488 F.3d 816, 824-25 (9th Cir. 2007); Hale v.
Arizona, 993 F.2d 1387, 1398 (9th Cir. 1993) (en banc).
18   See Brunette v. Humane Soc’y of Ventura Cty., 294 F.3d 1205, 1209 (9th Cir. 2002).
19   West, 487 U.S. at 49 (quoting Classic, 313 U.S. at 326); see also Tongol v. Usery, 601

3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 4 of 12

           Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 4 of 12
         42 U.S.C. § 1983 does not confer constitutional or federal rights, but instead,

provides a mechanism for remedying violations of pre-existing constitutional or

federal rights. 20 Constitutional rights are those conferred by the U.S. Constitution

to individual citizens. Section 1983 can be used as a mechanism for enforcing the

rights guaranteed by a particular federal statute only if (1) the statute creates

enforceable rights and (2) Congress has not foreclosed the possibility of a § 1983

remedy for violations of the statute in question. 21 Section 1983 does not provide

a cause of action for violations of state law. 22 However, where a violation of state

law is also a violation of a federal constitutional right, § 1983 may provide a cause

of action. 23

         Importantly in a §1983 action, claims must demonstrate causation, or show

how the alleged defendant, acting under color of state law, violated the plaintiff’s

federal rights. A person deprives another of a federal constitutional or statutory

right, “within the meaning of § 1983, ‘if he does an affirmative act, participates in

another’s affirmative act, or omits to perform an act which he is legally required to



F.2d 1091, 1097 (establishing that when state officials are administering a federal funded
program, the state officials are still acting under the color of state law).
20   Graham v. Connor, 490 U.S. 386, 393-94 (1989).
21Blessing v. Freestone, 520 U.S. 329, 340-41 (1997); Dittman v. California, 191 F.3d
1020, 1027-28 (9th Cir. 1999).
22   Galen v. Cty. of Los Angeles, 477 F.3d 652, 662 (9th Cir. 2007).
23   Lovell v. Poway Unified Sch. Dist., 90 F.3d 367, 370 (9th Cir. 1996).

3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 5 of 12

           Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 5 of 12
do that causes the deprivation of which complaint is made.’” 24 The required causal

connection “may be established when an official sets in motion a ‘series of acts by

others which the actor knows or reasonably should know would cause others to

inflict’ constitutional harms.” 25

         Mr. Levi’s complaint does not allege the required elements of a §1983 action.

Mr. Levi’s complaint does not allege wrong doing by a state actor. Instead, he

names the State of Alaska and later elaborates to specify the Department of Labor.

Neither a state, nor a state agency, is a proper defendant under 42 U.S.C. § 1983.

Additionally, Mr. Levi implies that his right to a jury trial has been infringed.

However, the Seventh Amendment of the United States Constitution only applies

to federal actions and has not been extended to the states. 26 As previously

discussed, 42 U.S.C. § 1983 is not an independent source of civil rights but is

merely a mechanism to enforce pre-existing rights.

         In sum, in order to plead a proper § 1983 claim, a plaintiff must allege

plausible facts that if proven would establish each of the required elements of:

“(1) a violation of rights protected by the Constitution or created by federal statute,


24Preschooler II v. Clark Cty. Sch. Bd. Of Trs., 479 F.3d 1175, 1183 (9th Cir. 2007) (quoting
Johnson v. Duffy, 588 F.2d 740, 743 (9th Cir. 1978)).
25   Preschooler II, 479 F.3d at 1183 (quoting Johnson, 588 F.2d at 743).
26Minneapolis & St. Louis R. Co. v. Bombolis, 241 U.S. 211 (1916) (establishing that “the
Seventh Amendment applies only to proceedings in courts of the United States, and does
not in any manner whatever govern or regulate trials by jury in state courts, or the
standards which must be applied concerning the same.”).

3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 6 of 12

           Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 6 of 12
(2) proximately caused (3) by conduct of a ‘person’ (4) acting under color of state

law.” 27     Mr. Levi’s complaint does not demonstrate a violation of either

constitutional rights or federal statute because of conduct by a person acting under

the color of state law. Without these required elements, Mr. Levi’s complaint does

not present a valid civil rights claim and is deficient. No other defendant could be

substituted; therefore amendment is futile and the complaint must be dismissed.

                                           Jurisdiction

         Jurisdiction is “[a] court's power to decide a case or issue a decree.” 28 A

court’s subject matter jurisdiction is its “statutory or constitutional power to

adjudicate a case.” 29 As a federal court, this Court has limited subject matter

jurisdiction. It possesses “only that power authorized by the Constitution and

statute.” 30 This means that the Court has the authority to hear only specified types

of cases. 31 “In civil cases, subject matter jurisdiction is generally conferred upon




27Gibson v. United States, 781 F.2d 1334, 1338 (9th Cir. 1986); see also Pistor v. Garcia,
791 F.3d 1104, 1114 (9th Cir. 2015).
28   Black’s Law Dictionary (9th ed. 2009) (definition of “jurisdiction”).
29   Steel Co. v. Citizens for Better Environment, 523 U.S. 83, 89 (1998).
30Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations omitted);
see also, e.g. A-Z Intern. v. Phillips, 323 F.3d 1141, 1145 (9th Cir. 2003).
31 See, e.g., United States v. Marks, 530 F.3d 779, 810 (9th Cir. 2008), citing
DaimlerChrysler v. Cuno, 547 U.S. 332, 342 (2006); United States v. Sumner, 226 F.3d
1005, 1010 (9th Cir. 2000).

3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 7 of 12

           Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 7 of 12
federal district courts either through diversity jurisdiction, 28 U.S.C. § 1332, or

federal question jurisdiction, 28 U.S.C. § 1331.” 32

         Federal question jurisdiction provides a federal court the authority to

consider cases brought under the United States Constitution or federal statutes. 33

The complaint does not address a federal statute or raise a viable constitutional

issue. 34 Because the complaint does not clearly describe a violation of the U.S.

Constitution or a federal statute that is redressable by a private citizen in federal

court, this Court does not have federal question jurisdiction over this case.

         Diversity jurisdiction requires that the plaintiff have “citizenship which is

diverse from that of every defendant” and an amount in controversy greater than

$75,000. 35      This means that this Court could have jurisdiction over a case

(Including one involving only state law issues) where the plaintiff demonstrates that

he is a citizen of a different state than the citizenship of each of the defendants. 36

However, if any of the defendants share citizenship with Mr. Levi, then no diversity




32   Peralta v. Hispanic Bus., Inc., 419 F.3d 1064, 1068 (9th Cir. 2005).
33   28 U.S.C. § 1331.
34   See Docket 1.
35 28 U.S.C. § 1332; See Cook v. AVI Casino Enterprises, Inc., 548 F.3d 718, 722 (9th
Cir. 2008) (quoting Caterpillar, Inc. v. Lewis, 519 U.S. 61, 68 (1996) (diversity jurisdiction
requires “complete diversity of citizenship”)).
36   Id. (quoting Kokkonen, 511 U.S. at 377).

3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 8 of 12

           Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 8 of 12
jurisdiction exists. 37 While Mr. Levi does not formally establish citizenship, the

pleadings indicate that Mr. Levi and his defendant, the State of Alaska, are Alaska

citizens. 38 Additionally, neither the complaint, nor the cover sheet establish an

amount in controversy. Because he has not demonstrated diverse citizenship

here, nor an amount in controversy, this Court does not have diversity jurisdiction

over his complaint.

           This Court has neither federal question jurisdiction, nor diversity jurisdiction

over this case. Therefore, this Court has no subject matter jurisdiction over this

matter. When a court determines “that it lacks subject matter jurisdiction, the court

must dismiss the action.” 39 In light of the foregoing, Mr. Levi’s complaint must be

dismissed for lack of subject matter jurisdiction.

                                   No Appellate Jurisdiction

           Mr. Levi’s complaint presents arguments against the Alaska Supreme Court

decision S-16876. Mr. Levi extensively quotes the decision, alleges errors, and

even provides the Court a copy of the opinion as an exhibit. 40 Effectively, Mr. Levi




37   Id.
38   See Docket 1.
39   Fed. R. Civ. P. (12)(h)(3).
40   Dockets 1 at 3-7 & 1-1.

3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 9 of 12

            Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 9 of 12
requests that this Court review and correct errors he believes exists with the Alaska

Supreme Court’s interpretation of Alaska state law. 41

         A federal district court has no appellate jurisdiction of state courts. 42 Only

the United States Supreme Court has the authority to review a state court’s

judgment. 43 The Rooker-Feldman doctrine “does not authorize district courts to

exercise appellate jurisdiction over state-court judgments.” 44 As established by

the United States Supreme Court, Rooker-Feldman “is a narrow doctrine, confined

to ‘cases brought by state-court losers complaining of injuries caused by state-

court judgments rendered before the district court proceedings commenced and

inviting district court review and rejection of those judgments.’” 45 “The doctrine

applies only in ‘limited circumstances,’ where a party in effects seeks to take an

appeal of an unfavorable state-court decision to a lower federal court.” 46

         Mr. Levi has been litigating this issue through the entirety of the Alaska

administrative process, and then, Alaska’s court system. Mr. Levi has received a


41   See Docket 10.
42 Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923); District of Columbia Court of Appeals
v. Feldman, 460 U.S. 462 (1983) (establishing the Rooker-Feldman doctrine that federal
district courts lack subject-matter jurisdiction to hear an appeal from a state court).
43   28 U.S.C. § 1257.
44   Verizon Md. Inc., v. Public Serv. Comm’n of Md., 535 U.S. 635, 644 n. 3 (2002).
45Lance v. Dennis, 546 U.S. 459, 464 (2006) (per curium); quoting Exxon Mobil Corp. v.
Saudi Basic Industries Corp., 544 U.S. 280, 284 (2005).
46   Lance, 546 U.S. at 466; quoting Exxon Mobil, 544 U.S. at 291.

3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 10 of 12

          Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 10 of 12
Department of Labor appeal, a Superior Court appeal, and an Alaska Supreme

Court appeal. Mr. Levi now seeks to bring his case to federal court in order to

challenge the prior state court judgment.          However, this Court has no such

appellate jurisdiction; therefore, this action must be dismissed.

                                  Futility of Amendment

        A Court’s decision to grant or deny leave to amend a complaint is

discretionary. 47 Mr. Levi does not present a viable claim under 42 U.S.C. § 1983

that can be repaired. No defendant or other party could be substituted on these

facts. Additionally, the constitutional violation he raises does not apply to the

states. Without a proper federal question cause of action, this Court does not have

subject matter jurisdiction and must dismiss the action. Moreover, a federal district

court does not have the authority or jurisdiction to review state court decisions.

Therefore, amendment is futile, and the action must be dismissed with prejudice.



IT IS THEREFORE ORDERED:

     1. The action is dismissed with prejudice for failure to state a claim, for lack of

        subject matter jurisdiction, and futility of amendment.



47Foman v. Davis, 371 U.S. 178, 182 (1962) (establishing that leave to amend a
complaint should be freely given unless to do so would be futile); see also Cato v.
United States, 70 F.3d 1103, 1106 (9th Cir. 1995) (stating that “[a] district court should
not dismiss a pro se complaint without leave to amend unless it is absolutely clear that
the deficiencies of the complaint could not be cured by amendment.”).

3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 11 of 12

         Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 11 of 12
   2. The Clerk of Court is directed to submit a final judgment accordingly.



DATED at Anchorage, Alaska this 18th day of March, 2019.

                                            /s/ Ralph R. Beistline
                                            Senior United States District Judge




3:18-cv-282-RRB, Levi v. State of Alaska.
Order to Dismiss
Page 12 of 12

        Case 3:18-cv-00282-RRB Document 2 Filed 03/18/19 Page 12 of 12
